Case 2:04-cv-02974-.]DT-STA Document 34 Filed 08/02/05 Page 1 of 3 Pag@lp 28

 

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IN THE UNITED sTATEs DISTRICT COURT `? \O
FOR THE WESTERN DIsTRICT oF TENNESSEE g /I,_ P,? 'Q
EASTERN DivisIoN "§’/.j/Ug/F. f 303
,f’O/; J/ f ‘j
/;1;' Mf;':‘ff
WILLIAM P. FAULKNER, ) “
)
Piaimiff, )
)
Vs. ) NO.; 2;04_2974-T/An
)
CORRECTIONS CORPORATION oF )
AMERICA and GEoRGE JONES, )
)
Defendants. )

 

ORDER DENYING MOTION TO SET ASIDE SCHEDULING ORDER
AS MOOT

 

Ori July 18, 2005, Defendants Corrections Corporation of America and George Jones
moved to have the scheduling order set aside until Defendants’ pending motion for summary
judgment was ruled upon. On July 29, 2005, summary judgment was entered in favor of
Defendants. Therefore, Defendants motion to set aside the scheduling order [Doeket Entry 30] is
DENIED as MOOT.

IT IS SO ORDERED.

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Date 0

This document entered on the docket sheet in compliance
with Ru|e 58 and.'or,79 (a) FF\CP on

Case 2:O4-cv-O2974-.]DT-STA Document 34 Filed 08/02/05 Page 2 of 3 Page|D 29

CERTIF]CATE OF SERVICE

This is to certify that l have served a copy of the above Proposed Order personally or by

mail upon each attorney or firm of attorneys appearing of record for each adverse party or each pro
se party on or before the filing date thereof

William Faulkner, #24406’/`
Stanley Correctional lnstitution
100 Corrections Drive

Stanley, WI 54768-6500
715-644-2960

DATED: This the l51 day ofAuguSt, 2005.

PENTECOST, GLENN & RUDD, PLLC

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Q§Lt meys rDefendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CV-02974 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

ESSEE

 

Michelle Affatati

Stafford Rosenbaum LLP
3 South Pinckney St.
Madison, WI 53701--178

William P. Faulkner
244067

100 Corrections Drive
Stanley, WI 54768

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

